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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


 AMERICAN PUBLIC HEALTH
 ASSOCIATION, et al.,

                                 Plaintiffs,

        v.                                                     No. 1:25-cv-10787-WGY

 NATIONAL INSTITUTES OF
 HEALTH, et al.,

                                 Defendants.


 COMMONWEALTH OF
 MASSACHUSETTS, et al.,

                                 Plaintiffs,
                                                               No. 1:25-cv-10814-WGY
        v.

 ROBERT F. KENNEDY, JR., et al.,

                                 Defendants.


           STIPULATED MODIFICATIONS TO THE PHASE ONE SCHEDULE

       The Court has adopted the schedule for Phase One proceedings set forth at page 2 of ECF

No. 113 in No. 1:25-cv-10814. See Electronic Clerk’s Notes, ECF No. 87 in No. 1:25-cv-10787

and 119 in No. 1:25-cv-10814. Having met and conferred, all parties in the above cases have

stipulated to, and hereby ask the Court to adopt, the following modifications to that schedule:

            Plaintiffs must submit a list of any exhibits or witnesses they intend to present at the
             June 16 hearing by June 10, 2025, at 6:00 p.m.

            Defendants shall file any response or objections to the presentation of such exhibits or
             witnesses by June 12, 2025, at 6:00 p.m.

            Plaintiffs shall file a response to any such objections by June 13, 2025, at 2:00 p.m.
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June 5, 2025                                    Respectfully submitted.

For Plaintiffs in No. 25-cv-10787:              For Defendants:

 /s/ Jessie J. Rossman                       YAAKOV M. ROTH
Jessie J. Rossman                            Acting Assistant Attorney General
Suzanne Schlossberg
AMERICAN CIVIL LIBERTIES UNION               LEAH B. FOLEY
   FOUNDATION OF MASSACHUSETTS, INC. United States Attorney
One Center Plaza, Suite 801
Boston, MA 02018                             KIRK T. MANHARDT
(617)482-3170                                Director
jrossman@aclum.org
                                             MICHAEL QUINN
Olga Akselrod                                Senior Litigation Counsel
Alexis Agathocleous
Rachel Meeropol                              THOMAS PORTS (Va. Bar No. 84321)
Alejandro Ortiz                              Trial Attorney
AMERICAN CIVIL                               U.S. Department of Justice
  LIBERTIES UNION FOUNDATION                 Civil Division
125 Broad Street, 18th Floor                 Corporate/Financial Section
New York, NY 10004                           P.O. Box 875
(212) 549-2659                               Ben Franklin Stations
oakselrod@aclu.org                           Washington D.C. 20044-0875
                                             Tel: (202) 307-1105
Shalini Goel Agarwal                         Email: thomas.ports@usdoj.gov
PROTECT DEMOCRACY PROJECT
2020 Pennsylvania Ave., NW, Ste. 163          /s/ Anuj K. Khetarpal
Washington, DC 20006                         ANUJ K. KHETARPAL
(202) 579-4582                               Assistant United States Attorney
shalini.agarwal@protectdemocracy.org         United States Attorney’s Office
                                             1 Courthouse Way, Suite 9200
Michel-Ange Desruisseaux                     Boston, MA 02210
PROTECT DEMOCRACY PROJECT                    Tel: (617) 823-6325
82 Nassau Street, #601                       Email: anuj.khetarpal@usdoj.gov
New York, NY 10038
michelange.desruisseaux@protectdemocracy.org

Kenneth Parreno
PROTECT DEMOCRACY PROJECT
15 Main Street, Suite 312
Watertown, MA 02472
kenneth.parreno@protectdemocracy.org

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Lisa S. Mankofsky
Oscar Heanue
CENTER FOR SCIENCE IN
  THE PUBLIC INTEREST
1250 I St., NW, Suite 500
Washington, DC 20005
202-777-8381
lmankofsky@cspinet.org

For Plaintiffs in No. 25-cv-10814:

ANDREA JOY CAMPBELL
 Attorney General of Massachusetts

 /s/ Gerard J. Cedrone
Katherine B. Dirks
   Chief State Trial Counsel
Gerard J. Cedrone
   Deputy State Solicitor
Allyson Slater
   Director, Reproductive Justice Unit
Rachel M. Brown
Vanessa A. Arslanian
Chris Pappavaselio
   Assistant Attorneys General
One Ashburton Place, 20th Floor
Boston, MA 02108
(617) 963-2282
gerard.cedrone@mass.gov

Counsel for the
 Commonwealth of Massachusetts

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ROB BONTA
 Attorney General of California

 /s/ Emilio Varanini
Neli Palma
   Senior Assistant Attorney General
Emilio Varanini
Kathleen Boergers
   Supervising Deputy Attorneys General
Nimrod Pitsker Elias
Daniel D. Ambar
Ketakee R. Kane
Sophia TonNu
Hilary Chan
   Deputy Attorneys General
455 Golden Gate Avenue
San Francisco, CA 94102
(415) 510-3541
emilio.varanini@doj.ca.gov

Counsel for the State of California

ANTHONY G. BROWN
 Attorney General of Maryland

 /s/ James C. Luh
Michael Drezner
James C. Luh
   Senior Assistant Attorneys General
200 Saint Paul Place, 20th Floor
Baltimore, MD 21202
(410) 576-6959
mdrezner@oag.state.md.us

Counsel for the State of Maryland

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NICHOLAS W. BROWN
 Attorney General of Washington

 /s/ Andrew Hughes
Andrew Hughes
Tyler Roberts
   Assistant Attorneys General
800 Fifth Avenue, Suite 2000
Seattle, WA 98104-3188
(206) 464-7744
andrew.hughes@atg.wa.gov

Counsel for the State of Washington

KRISTIN K. MAYES
 Attorney General of Arizona

 /s/ Joshua G. Nomkin
Joshua G. Nomkin
   Assistant Attorney General
2005 N. Central Avenue
Phoenix, AZ 85004
(602) 542-3333
joshua.nomkin@azag.gov

Counsel for the State of Arizona

PHILIP J. WEISER
 Attorney General of Colorado

 /s/ Lauren Peach
Shannon Stevenson
   Solicitor General
Lauren Peach
   First Assistant Attorney General
1300 Broadway, 10th Floor
Denver, CO 80203
(720) 508-6000
lauren.peach@coag.gov

Counsel for the State of Colorado

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KATHLEEN JENNINGS
 Attorney General of Delaware

 /s/ Vanessa L. Kassab
Ian R. Liston
   Director of Impact Litigation
Vanessa L. Kassab
   Deputy Attorney General
820 N. French Street
Wilmington, DE 19801
(302) 683-8899
vanessa.kassab@delaware.gov

Counsel for the State of Delaware

ANNE E. LOPEZ
 Attorney General of Hawaiʻi

 /s/ Kalikoʻonālani D. Fernandes
David D. Day
   Special Assistant to the Attorney General
Kalikoʻonālani D. Fernandes
   Solicitor General
425 Queen Street
Honolulu, HI 96813
(808) 586-1360
kaliko.d.fernandes@hawaii.gov

Counsel for the State of Hawaiʻi

KEITH ELLISON
 Attorney General of Minnesota

 /s/ Pete Farrell
Peter J. Farrell
   Deputy Solicitor General
445 Minnesota Street, Suite 600
St. Paul, Minnesota, 55101
(651) 757-1424
peter.farrell@ag.state.mn.us

Counsel for the State of Minnesota

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AARON D. FORD
 Attorney General of Nevada

/s/ Heidi Parry Stern
Heidi Parry Stern
  Solicitor General
1 State of Nevada Way, Suite 100
Las Vegas, NV 89119
hstern@ag.nv.gov

Counsel for the State of Nevada

MATTHEW J. PLATKIN
 Attorney General of New Jersey

 /s/ Nancy Trasande
Nancy Trasande
Bryce Hurst
   Deputy Attorneys General
124 Halsey Street, 5th Floor
Newark, NJ 07101
(609) 954-2368
nancy.trasande@law.njoag.gov

Counsel for the State of New Jersey

RAÚL TORREZ
 Attorney General of New Mexico

 /s/ Astrid Carrete
Astrid Carrete
   Assistant Attorney General
408 Galisteo Street
Santa Fe, NM 87501
(505) 270-4332
acarrete@nmdoj.gov

Counsel for the State of New Mexico

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LETITIA JAMES
 Attorney General of New York

 /s/ Rabia Muqaddam
Rabia Muqaddam
   Special Counsel for Federal Initiatives
Molly Thomas-Jensen
   Special Counsel
28 Liberty Street
New York, NY 10005
(929) 638-0447
rabia.muqaddam@ag.ny.gov

Counsel for the State of New York

DAN RAYFIELD
 Attorney General of Oregon

 /s/ Christina L. Beatty-Walters
Christina L. Beatty-Walters
   Senior Assistant Attorney General
100 SW Market Street
Portland, OR 97201
(971) 673-1880
tina.beattywalters@doj.oregon.gov

Counsel for the State of Oregon

PETER F. NERONHA
 Attorney General of Rhode Island

 /s/ Jordan Broadbent
Jordan Broadbent
   Special Assistant Attorney General
150 South Main Street
Providence, RI 02903
(401) 274-4400, Ext. 2060
jbroadbent@riag.ri.gov

Counsel for the State of Rhode Island

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JOSHUA L. KAUL
 Attorney General of Wisconsin

 /s/ Lynn K. Lodahl
Lynn K. Lodahl
   Assistant Attorney General
17 West Main Street
Post Office Box 7857
Madison, WI 53707
(608) 264-6219
lodahllk@doj.state.wi.us

Counsel for the State of Wisconsin




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